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                           UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW MEXICO

ROBERT H. DAY,

       Plaintiff,

v.                                                      Civ. No. 13-1198 JCH/CG

NEW JERSEY STATE PATROL;
STATE OF NEW JERSEY;
NEW JERSEY LOTTERY COMMISSION,

       Defendants.

                                     FINAL ORDER

       Pursuant to FED. R. CIV. P. 58(a), the Court now issues its separate document finally

disposing of this case.

       IT IS ORDERED that Robert H. Day’s cause of action is DISMISSED with prejudice.




                                          ________________________________________
                                          UNITED STATES DISTRICT JUDGE
